               Case 6:17-cr-60016-SOH Document 59                         Filed 07/30/18 Page 1 of 7 PageID #: 203
AO 245B (Rev. 02/18)   Judgment in a Criminal Case
                       Sheet 1



                                         UNITED STATES DISTRICT COURT
                                       Western District of Arkansas
                                                     )
              UNITED STATES OF AMERICA               )     JUDGMENT IN A CRIMINAL CASE
                          v.                         )
                                                     )
                                                     )     Case Number:         6:17CR60016-002
                   JARVIS MOLDEN                     )     USM Number:          14673-010
                                                     )
                                                     )     William O. James Jr.
                                                     )     Defendant’s Attorney
THE DEFENDANT:
    pleaded guilty to count(s)      One (1) and Two (2) of the Indictment on November 17, 2017.

    pleaded nolo contendere to count(s)
    which was accepted by the court.
    was found guilty on count(s)
    after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                   Nature of Offense                                                      Offense Ended             Count
18 U.S.C. §§ 2113(a) and          Bank Robbery and Aiding and Abetting                                    02/13/2017                 1
2
18 U.S.C. §§                      Possession of a Firearm in Furtherance of a Crime of Violence            02/13/2017                2
924(c)(1)(A)(ii) and 2            and Aiding and Abetting


       The defendant is sentenced as provided in pages 2 through              7         of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.

    The defendant has been found not guilty on count(s)

    Count(s) Three (3)                                          is     are dismissed on the motion of the United States.

          It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to
pay restitution, the defendant must notify the court and United States attorney of material changes in economic circumstances.

                                                                       July 26, 2018
                                                                       Date of Imposition of Judgment


                                                                       /s/ Susan O. Hickey
                                                                       Signature of Judge




                                                                       The Honorable Susan O. Hickey, United States District Judge
                                                                       Name and Title of Judge


                                                                       July 30, 2018
                                                                       Date
              Case 6:17-cr-60016-SOH Document 59                             Filed 07/30/18 Page 2 of 7 PageID #: 204
AO 245B (Rev. 02/18)   Judgment in Criminal Case
                       Sheet 2 — Imprisonment
                                                                                                    Judgment — Page      2       of   7
 DEFENDANT:                  JARVIS MOLDEN
 CASE NUMBER:                6:17CR60016-002

                                                           IMPRISONMENT
          The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a
 total term of:    ninety-six (96) months on Count One and eighty-four (84) months on Count Two, to be served consecutively to
 Count One for a total term of incarceration of one-hundred eighty (180) months, with credit for time served in federal custody.




         The court makes the following recommendations to the Bureau of Prisons:
         The Court recommends that the sentence be served at FCI Forrest City.
         The Court recommends that the defendant participate in any drug abuse treatment programs for which he is eligible.
         The Court recommends that the defendant be allowed to participate in any vocational training programs for which he is eligible.


         The defendant is remanded to the custody of the United States Marshal.

         The defendant shall surrender to the United States Marshal for this district:
             at                                     a.m.          p.m.       on                                              .
             as notified by the United States Marshal.

         The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
             before 2 p.m. on                                            .
             as notified by the United States Marshal.
             as notified by the Probation or Pretrial Services Office.



                                                                  RETURN
 I have executed this judgment as follows:




         Defendant delivered on                                                          to

 at                                                , with a certified copy of this judgment.


                                                                                                  UNITED STATES MARSHAL




                                                                         By
                                                                                               DEPUTY UNITED STATES MARSHAL
              Case 6:17-cr-60016-SOH Document 59                        Filed 07/30/18 Page 3 of 7 PageID #: 205
AO 245B (Rev. 02/18) Judgment in a Criminal Case
                      Sheet 3 — Supervised Release
                                                                                                      Judgment—Page     3      of        7
DEFENDANT:                 JARVIS MOLDEN
CASE NUMBER:               6:17CR60016-002
                                                      SUPERVISED RELEASE

Upon release from imprisonment, you will be on supervised release for a term of: three (3) years on Count One and three (3) years on
Count Two, terms to run concurrently.




                                                     MANDATORY CONDITIONS
1.   You must not commit another federal, state or local crime.
2.   You must not unlawfully possess a controlled substance.
3.   You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release from
     imprisonment and at least two periodic drug tests thereafter, as determined by the court.
                  The above drug testing condition is suspended, based on the court's determination that you
                  pose a low risk of future substance abuse. (check if applicable)
4.         You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence of
           restitution. (check if applicable)
5.         You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
6.         You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, et seq.) as
           directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you
           reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)
7.         You must participate in an approved program for domestic violence. (check if applicable)

You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
page.
             Case 6:17-cr-60016-SOH Document 59                         Filed 07/30/18 Page 4 of 7 PageID #: 206
AO 245B (Rev. 02/18)   Judgment in a Criminal Case
                       Sheet 3A — Supervised Release
                                                                                             Judgment—Page       4        of         7
DEFENDANT:                   JARVIS MOLDEN
CASE NUMBER:                 6:17CR60016-002

                                      STANDARD CONDITIONS OF SUPERVISION
As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are
imposed because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by
probation officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

1.  You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
    release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different
    time frame.
2. After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
    when you must report to the probation officer, and you must report to the probation officer as instructed.
3. You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from
    the court or the probation officer.
4. You must answer truthfully the questions asked by your probation officer.
5. You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
    arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If
    notifying the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer
    within 72 hours of becoming aware of a change or expected change.
6. You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer
    to take any items prohibited by the conditions of your supervision that he or she observes in plain view.
7. You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
    doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
    you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
    responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least
    10 days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
    becoming aware of a change or expected change.
8. You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
    convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of the
    probation officer.
9. If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
10. You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that
    was designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or
    tasers).
11. You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without
    first getting the permission of the court.
12. If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may
    require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the
    person and confirm that you have notified the person about the risk.
13. You must follow the instructions of the probation officer related to the conditions of supervision.




U.S. Probation Office Use Only

A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview of Probation and Supervised
Release Conditions, available at: www.uscourts.gov.


Defendant's Signature                                                                                 Date
             Case 6:17-cr-60016-SOH Document 59                Filed 07/30/18 Page 5 of 7 PageID #: 207
AO 245B(Rev. 02/18)   Judgment in a Criminal Case
                      Sheet 3D — Supervised Release
                                                                                        Judgment—Page    5    of       7
DEFENDANT:               JARVIS MOLDEN
CASE NUMBER:             6:17CR60016-002

                                       SPECIAL CONDITIONS OF SUPERVISION
1.       The defendant shall submit his person, residence, and vehicle to a search conducted by the United States Probation
         Office at a reasonable time and in a reasonable manner based upon reasonable suspicion of evidence of a violation
         of any condition of release. Failure to submit to a search may be grounds for revocation.

2.       The defendant shall comply with any referral, inpatient or outpatient, by the U.S. Probation Office for evaluation,
         counseling, testing and/or treatment for substance abuse.

3.       If the defendant fails to complete his general equivalency diploma (GED) while incarcerated he shall participate in
         an educational program approved by the U.S. Probation Office and shall obtain his GED prior to termination of
         supervised release.
              Case 6:17-cr-60016-SOH Document 59                         Filed 07/30/18 Page 6 of 7 PageID #: 208
AO 245B (Rev. 02/18)   Judgment in a Criminal Case
                       Sheet 5 — Criminal Monetary Penalties
                                                                                                  Judgment — Page      6      of         7
 DEFENDANT:                       JARVIS MOLDEN
 CASE NUMBER:                     6:17CR60016-002
                                                CRIMINAL MONETARY PENALTIES
    The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                       Assessment                JVTA Assessment*             Fine                       Restitution
 TOTALS           $ 200.00                     $ -0-                        $ -0-                       $ 19,235.00


       The determination of restitution is deferred             . An Amended Judgment in a Criminal Case (AO 245C) will be entered
 until after such determination.

      The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

    If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
    the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
    before the United States is paid.

 Name of Payee                               Total Loss**                    Restitution Ordered                    Priority or Percentage
 Nationwide Insurance Co.                                                                 $17,235.00
 Re: Claim # 66-5827GE
 P.O. Box 182068
 Columbus, OH 43218

 Jimmy Langston                                                                             $2,000.00
 Advantage Service Company
 1797 Cypress Street North
 N. Little Rock, AR 72114




 TOTALS                              $                                  $                  $19,235.00

      Restitution amount ordered pursuant to plea agreement $

      The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
      fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
      to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

      The court determined that the defendant does not have the ability to pay interest and it is ordered that:
            the interest requirement is waived for             fine         restitution.
            the interest requirement for                fine    restitution is modified as follows:

 * Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.
 ** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on
    or after September 13, 1994, but before April 23, 1996.
              Case 6:17-cr-60016-SOH Document 59                              Filed 07/30/18 Page 7 of 7 PageID #: 209
AO 245B (Rev. 02/18)   Judgment in a Criminal Case
                       Sheet 6 — Schedule of Payments
                                                                                                             Judgment — Page       7      of           7
 DEFENDANT:                JARVIS MOLDEN
 CASE NUMBER:              6:17CR60016-002

                                                        SCHEDULE OF PAYMENTS

 Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:

 A         Lump sum payment of $ 19,435.00                     due immediately, balance due

                not later than                                     , or
                in accordance with           C          D,          E, or           F below; or

 B         Payment to begin immediately (may be combined with                  C,           D, or        F below); or

 C         Payment in equal                         (e.g., weekly, monthly, quarterly) installments of $                            over a period of
                          (e.g., months or years), to commence                       (e.g., 30 or 60 days) after the date of this judgment; or

 D         Payment in equal                         (e.g., weekly, monthly, quarterly) installments of $                          over a period of
                          (e.g., months or years), to commence                       (e.g., 30 or 60 days) after release from imprisonment to a
           term of supervision; or

 E         Payment during the term of supervised release will commence within                (e.g., 30 or 60 days) after release from
           imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

 F         Special instructions regarding the payment of criminal monetary penalties:
           If not paid immediately, any unpaid financial penalty shall be paid by the defendant during his term of imprisonment at a rate of up to 50% of
           the defendant’s available funds, in accordance with the Inmate Financial Responsibility Program. During residential reentry placement,
           payments will be 10% of the defendant’s gross monthly income. The payment of any remaining balance shall become a condition of supervised
           release and shall be paid in monthly installments of $100 or 15% of defendant’s net monthly household income, whichever is greater, with the
           entire balance to be paid in full no later than one month prior to the end of the period of supervised release.


 Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due
 during the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’
 Inmate Financial Responsibility Program, are made to the clerk of the court.

 The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.



      Joint and Several

      Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate.
      Maceo Harris, Docket Number 6:17CR60016-001




      The defendant shall pay the cost of prosecution.

      The defendant shall pay the following court cost(s):

      The defendant shall forfeit the defendant’s interest in the following property to the United States:



 Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal, (5) fine
 interest, (6) community restitution, (7) JVTA assessment, (8) penalties, and (9) costs, including cost of prosecution and court costs.
